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United States Courts. as
IN THE UNITED STATES DISTRICT COURT Southern District 8

FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION APR 05 2004

RONALD FISHER, individually and Michael N. Milby, Clerk of Court
on behalf of all others similarly

situated

VS. CIVIL ACTION NO. H-03-5569

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PEDKO PAVING, INC.
ORDER OF DISMISSAL WITH PREJUDICE
Based on the Stipulation of Dismissal filed by and between Plaintiffs, Ronald Fisher and
Fernando Beasley, and Defendant, Pedko Paving, Inc., it is hereby
ORDERED, ADJUDGED and DECREED that the cause(s) of action of the Plaintiffs, Ronald
Fisher and Fernando Beasley, against Defendant, Pedko Paving, Inc. are hereby dismissed with
prejudice to the rights of Plaintiffs to refile the same or any part thereof against said Defendant. All

costs of court are to be borne by the party incurring same.

SIGNED this 2) is of Alor | , 2004.

  

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STIPULATED AND AGREED TO:

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